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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         Case No. 20-cv-24742-BLOOM/Otazo-Reyes


  MINDBASEHQ LLC,

                 Plaintiff,

  v.

  GOOGLE LLC,

                 Defendant.


       DEFENDANT GOOGLE LLC’S RULE 7.1 CORPORATE DISCLOSURE
            STATEMENT AND NOTICE OF INTERESTED PARTIES

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and this Court’s order

(ECF No. 7), Defendant Google LLC discloses that Google LLC is a subsidiary of XXVI

Holdings Inc., which is a subsidiary of Alphabet Inc., a publicly traded company; no publicly

traded company holds more than 10% ownership of Alphabet Inc.’s stock.

        In addition, the following is a complete list of any and all persons, associated persons,

firms, partnerships and/or corporations that have a financial interest in the outcome of this

case, including subsidiaries, conglomerates, affiliates, parent corporations, and other

identifiable legal entities related to Google LLC:

            a) Plaintiff MindbaseHQ LLC

            b) Defendant Google LLC

            c) XXVI Holdings Inc., holding company of Google LLC

            d) Alphabet Inc., holding company of XXVI Holdings Inc.
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Respectfully submitted on January 25, 2021,

 REED SMITH LLP                               KWUN BHANSALI LAZARUS LLP

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                                CERTIFICATE OF SERVICE

        I hereby certify that, on January 25, 2021, a true copy of the above document was

 served upon the attorney of record for each party via the Court’s CM/ECF filing system.


                                             /s/ Edward M. Mullins
                                             Edward M. Mullins
